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                                                                                                  4 Tel. (213) 387-0869
                                                                                                    Fax (213) 387-0969
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                                                                                                    Attorneys for Plaintiff:
                                                                                                  6 Vanessa Hamilton,
                                                                                                  7                                 UNITED STATES DISTRICT COURT
                                                                                                  8       FOR THE CENTRAL DISTRICT OF CLAIFORNIA – SOUTHERN DIVISION
                                                                                                  9 VANESSA HAMILTON,                                         CASE NO.
                                                                                                 10                   Plaintiff,                              COMPLAINT FOR DAMAGES AND
                                                                                                                                                              REQUEST FOR JURY TRIAL
                                                                                                 11
                                                                                                 12          vs.
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                                                                                                    ORANGE COUNTY SHERIFF'S DEPT.,
                                                                                                 14 AND DOES 1-10,
                                                                                                 15                   Defendant.
                                                                                                 16
                                                                                                 17
                                                                                                                                   Plaintiff, Vanessa Hamilton, alleges as follows:
                                                                                                 18
                                                                                                                                                          I
                                                                                                 19
                                                                                                                                                     PARTIES
                                                                                                 20
                                                                                                             1.) The Plaintiff, Vanessa Hamilton, hereinafter, Hamilton is an individual and at all
                                                                                                 21
                                                                                                                   times relevant herein is a female African-American, and was employed with the
                                                                                                 22                defendant, Orange County Sheriff’s Department, hereinafter, the Sheriff’s
                                                                                                 23                Department.
                                                                                                 24          2.) The Sheriff’s Department is part of the municipal entity, the Orange County, and at
                                                                                                 25                all times relevant was ran pursuant to the customs, policies, usages and practices of
                                                                                                 26                the County.
                                                                                                 27
                                                                                                 28

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                                                                                                                                            COMPLAINT FOR DAMAGES                                          1
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                                                                                                  1       3.) The defendants sued herein as DOES 1-10 are persons whose current identities are

                                                                                                  2          unknown to Hamilton, but who in some shape or form contributed to the facts that led

                                                                                                  3          to this lawsuit. Hence the decision to sue them in their DOE capacity. Hamilton

                                                                                                  4          hereby reserves the right to amend her complaint to sue the DOE defendants in their
                                                                                                             real names and capacities once ascertained.
                                                                                                  5
                                                                                                          4.) All the events that led to this lawsuit took place in the City of Santa Ana, County of
                                                                                                  6
                                                                                                             Orange, State of California.
                                                                                                  7
                                                                                                                                                   II
                                                                                                  8
                                                                                                                                            JURISDICTION
                                                                                                  9
                                                                                                          5.) The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343
                                                                                                 10
                                                                                                             because it presents a question arising under the Constitution and laws of the United
                                                                                                 11
                                                                                                             States. The Court has supplemental jurisdiction to the state law claims pursuant to 28
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                                                                                                             U.S.C § 1367.
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                                                                                                                                                  III
                                                                                                 14                                            VENUE
                                                                                                 15       6.) The claims alleged herein arose from events or omissions occurring in the County of
                                                                                                 16          Orange. Therefore venue lies within the Central District of California pursuant to 28
                                                                                                 17          U.S.C. § 1391(b)(2).
                                                                                                 18                                                IV
                                                                                                 19                    FACTS COMMON TO ALL CAUSES OF ACTION

                                                                                                 20       7.) Hamilton was employed as a Correctional Services Assistant (CSA) with the Sheriff’s

                                                                                                 21          Department from November 3, 2010.

                                                                                                 22       8.) In 2011, she promoted to the position of a Sheriff Deputy Trainee.

                                                                                                 23       9.) Hamilton is informed and believes and thereon alleges that as a Sheriff Deputy
                                                                                                             Trainee, she was discriminated against on account of her race. The discrimination led
                                                                                                 24
                                                                                                             to her discharge from the academy in January 2012.
                                                                                                 25
                                                                                                          10.)   Following her discharge from the academy Hamilton was reduced to the position
                                                                                                 26
                                                                                                             of Sheriff’s Record Technician on January 25, 2012. Upon successful completion of
                                                                                                 27
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                                                                                                                                      COMPLAINT FOR DAMAGES                                            2
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                                                                                                  1          her probation in that category, Hamilton promoted back to her position as a

                                                                                                  2          Correctional Services Assistant, the position she held prior to joining the academy.

                                                                                                  3       11.)   Hamilton sued the Department based on her belief that she was discriminated

                                                                                                  4          against.
                                                                                                          12.)   Still desirous of becoming a Sheriff Deputy, Hamilton enrolled with the San
                                                                                                  5
                                                                                                             Bernardino Valley College Extended Basic Police Academy.
                                                                                                  6
                                                                                                          13.)   As an employee of the Department, Hamilton is entitled to take vacations.
                                                                                                  7
                                                                                                          14.)   On December 8, 2015 Hamilton applied for vacation for the week May 20, 2016
                                                                                                  8
                                                                                                             to May 26, 2016 to help her study and finish her training at the academy.
                                                                                                  9
                                                                                                          15.)   Hamilton’s vacation was approved 5 months ahead.
                                                                                                 10
                                                                                                          16.)   On May 16, 2016 the Department rescinded Hamilton’s vacation.
                                                                                                 11
                                                                                                          17.)   The Department has a policy of not cancelling employee’s vacations or forcing
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                                                                                                             them to do overtime.
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                                                                                                          18.)   At the time the Department rescinded her vacation, there were other employees
                                                                                                 14          who were on leave or scheduled off and whose vacations were not rescinded.
                                                                                                 15       19.)   Hamilton protested the rescission of her vacation and informed the Department
                                                                                                 16          that she cannot afford not to take her vacation because she will miss out on her
                                                                                                 17          academy and graduation.
                                                                                                 18       20.)   The Department ordered her to report for work.
                                                                                                 19       21.)   Hamilton based on the departmental policy on leave and her investment of time,

                                                                                                 20          energy and money on the academy advised the Department that she cannot do the

                                                                                                 21          overtime.

                                                                                                 22       22.)   Hamilton protested discriminatory act of forcing her to return to work on account

                                                                                                 23          of her race.
                                                                                                          23.)   On May 29, 2016 Hamilton’s approved time off for school was removed from the
                                                                                                 24
                                                                                                             calendar by the Department. On May 31, 2016 the Department initiated a personnel
                                                                                                 25
                                                                                                             Investigation against Hamilton. Prior to this the Department was aware of Hamilton
                                                                                                 26
                                                                                                             testing for other departments.
                                                                                                 27
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                                                                                                  1          24.)   On January 18, 2017 the Department also placed Hamilton on administrative

                                                                                                  2             leave then terminated her employment on June 22, 2017.

                                                                                                  3          25.)   The Department based on the above terminated her employment.

                                                                                                  4          26.)   Following the termination, Hamilton filed a complaint with California
                                                                                                                Department of fair Employment and Housing, who issued her a right-to-sue letter.
                                                                                                  5
                                                                                                                                      FIRST CAUSE OF ACTION
                                                                                                  6
                                                                                                          DISCRIMINATION ON THE BASIS OF RACE IN VIOLATION OF CALIFORNIA
                                                                                                  7
                                                                                                                                       GOVT CODE § 12900 et seq
                                                                                                  8
                                                                                                             27.)   Hamilton hereby re-alleges the allegations set forth in paragraphs 1-26 above and
                                                                                                  9
                                                                                                                incorporates same by reference as if set in full in this paragraph.
                                                                                                 10
                                                                                                             28.)   The plaintiff is an African-American female.
                                                                                                 11
                                                                                                             29.)   It is against the law to discriminate against a person on account of her race.
                                                                                                 12
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                                                                                                             30.)   Plaintiff is informed and believes and thereon alleges that she was discriminated
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                                                                                                                against on account of her race because her fellow workers who had pre-appproved
                                                                                                 14             vacations like her were not forced to give up their vacations like her and were not
                                                                                                 15             forced to give up their vacation, nor were they subjected to any adverse employment
                                                                                                 16             action.
                                                                                                 17          31.)   As a result of the conduct of defendant, Hamilton was harmed in an amount to be
                                                                                                 18             proved at trial.
                                                                                                 19                                  SECOND CAUSE OF ACTION

                                                                                                 20       DISCRIMINATION ON THE BASIS OF RACE IN VIOLATION OF 42 U.S.C. § 1981

                                                                                                 21          32.)   Hamilton hereby re-alleges the allegations set forth in paragraphs 1-26 above and

                                                                                                 22             incorporate same by reference as if set in full in this paragraph.

                                                                                                 23          33.)   The plaintiff is an African-American female.
                                                                                                             34.)   It is against the law to discriminate against a person on account of her race.
                                                                                                 24
                                                                                                             35.)   Plaintiff is informed and believes and thereon alleges that she was discriminated
                                                                                                 25
                                                                                                                against on account of her race because her fellow workers who had pre-appproved
                                                                                                 26
                                                                                                                vacations like her were not forced to give up their vacations like her and were not
                                                                                                 27
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                                                                                                                                        COMPLAINT FOR DAMAGES                                           4
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                                                                                                  1             forced to give up their vacation, nor were they subjected to any adverse employment

                                                                                                  2             action.

                                                                                                  3          36.)    As a result of the conduct of defendant, Hamilton was harmed in an amount to be

                                                                                                  4             proved at trial.
                                                                                                                                       THIRD CAUSE OF ACTION
                                                                                                  5
                                                                                                                            RETALIATION IN VIOLATION OF 42 U.S.C. § 1981
                                                                                                  6
                                                                                                             37.)    Hamilton hereby re-alleges the allegations set forth in paragraphs 1-26 above and
                                                                                                  7
                                                                                                                incorporates same by reference as if set in full in this paragraph.
                                                                                                  8
                                                                                                             38.)    It is against the law to retaliate against an employee for engaging in a protected
                                                                                                  9
                                                                                                                activity.
                                                                                                 10
                                                                                                             39.)    Plaintiff is informed and believes and thereon alleges that the defendant retaliated
                                                                                                 11
                                                                                                                against her for (a) suing them following discharge from the sheriff’s department; and
                                                                                                 12
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                                                                                                                (b) for protesting the discriminatory refusal to allow her to go on her pre-approved
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                                                                                                                vacation.
                                                                                                 14          40.)    As a result of the defendant’s conduct, Hamilton was harmed in an amount to be
                                                                                                 15             proved at trial.
                                                                                                 16                                   FOURTH CAUSE OF ACTION
                                                                                                 17        RETALIATION IN VIOLATION OF CALIFORNIA GOVT CODE § 12900 et seq
                                                                                                 18          41.)    Hamilton hereby re-alleges the allegations set forth in paragraphs 1-26 above and
                                                                                                 19             incorporates same by reference as if set in full in this paragraph

                                                                                                 20          42.)    It is against the law to retaliate against an employee for engaging in a protected

                                                                                                 21             activity.

                                                                                                 22          43.)    Hamilton is informed and believes and thereon alleges that the defendant engaged

                                                                                                 23             in the aforementioned conduct because she engaged in protected activity.
                                                                                                             44.)    As a result of the defendant’s action, Hamilton was harmed in an amount to be
                                                                                                 24
                                                                                                                proved at trial.
                                                                                                 25
                                                                                                                PRAYER FOR RELIEF
                                                                                                 26
                                                                                                      WHEREFORE, Plaintiffs pray for the following relief:
                                                                                                 27
                                                                                                                1.        For general and special damages;
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                                                                                                  1            2.    For costs of and reasonable attorneys’ fees pursuant to 42 U.S.C § 1988 and

                                                                                                  2                  California Govt. Code § 12940

                                                                                                  3            3.    For such additional and further relief as this court may deem just.

                                                                                                  4 Dated: June 21, 2018                       Law Offices of Akudinobi & Ikonte,

                                                                                                  5
                                                                                                                                               BY:_/s/ Chijioke Ikonte________________
                                                                                                  6                                                   Chijioke O. Ikonte
                                                                                                  7                                                   Attorney for Plaintiff
                                                                                                                                                      Vanessa Hamilton
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                                                                                                                                     COMPLAINT FOR DAMAGES                                         6
